                            IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

  UNITED STATES OF AMERICA,                           )
                                                      )
                          Plaintiff,                  )
                                                      )
  v.                                                  )           No. 3:08-CR-175
                                                      )           (PHILLIPS/SHIRLEY)
  CLARK ALAN ROBERTS and                              )
  SEAN EDWARD HOWLEY,                                 )
                                                      )
                          Defendants.                 )

                                   MEMORANDUM AND ORDER

                  All pretrial motions in this case have been referred to the undersigned pursuant to 28

  U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

  Court as may be appropriate. This case came before the Court on February 5, 2009, for a motion

  hearing on Defendant Sean Howley’s Motion For Continuance [Doc. 99], filed on February 2, 2010.

  Assistant United States Attorney D. Gregory Weddle appeared on behalf of the Government.

  Attorneys W. Thomas Dillard and Stephen Ross Johnson were present for Defendant Clark Roberts.

  Attorney Douglas A. Trant appeared by telephone and represented Defendant Sean Howley. Both

  Defendants were also present.

                  The motion requests that the Court continue the February 9, 2010 trial date because

  Attorney Trant has been trying a criminal case in the Southern District of Alabama since January

  4, 2010. As of the time of the February 5 hearing, the jury had yet to return a verdict in that case.

  Attorney Trant states that he needs additional time to prepare for trial in the instant case in order the

  render effective representation. The motion states that the Government does not object to the

  requested continuance and that Codefendant Roberts takes no position.

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Case 3:08-cr-00175-PLR-CCS Document 104 Filed 02/08/10 Page 1 of 4 PageID #: 615
                 The Court held a telephone conference on this matter on February 4, 2010. Mr. Trant

  was not able to participate in that conference. At that time, Attorney Dillard stated that Defendant

  Roberts opposed a lengthy continuance. The parties were unable to agree to one of the District

  Court’s available dates, and the Court continued the hearing to the next afternoon. On February 5,

  AUSA Weddle informed the Court that he had worked to move another trial on the District Court’s

  calendar and that March 23, 2010, was now available. The parties all agreed to this date.

                 Based upon the unavoidable circumstances requiring Attorney Trant’s presence in

  the Southern District of Alabama, the Court finds that a short continuance of the February 9 trial is

  necessary and that the ends of justice served by granting a continuance outweigh the interest of the

  Defendants and the public in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). To require Defendant

  Howley to proceed to trial on February 9 without his attorney or without his attorney having any

  time to prepare for his trial would unreasonably deprive him of continuity of counsel and would

  constitute a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(B)(i), -(iv). Moreover, counsel for

  Defendant Howley will need a reasonable amount of time to prepare for trial once he returns from

  Alabama. Included in this preparation will be the time necessary to litigate the Government’s

  Motion for a Protective Order [Doc. 98] for trial. The Court finds that this necessary trial

  preparation could not take place before the February 9, 2010 trial date. Thus, the Court finds that

  the failure to grant a continuance would deprive Defendant Howley’s attorney of time to prepare for

  trial despite his use of due diligence. See 18 U.S.C. § 3161(h)(7)(B)(iv).

                 Additionally, the Court notes that excluded from the speedy trial calculation is a

  “reasonable period of delay when the defendant is joined for trial with a codefendant as to whom

  the time for trial has not run and no motion for severance has been granted.” 18 U.S.C. §


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Case 3:08-cr-00175-PLR-CCS Document 104 Filed 02/08/10 Page 2 of 4 PageID #: 616
  3161(h)(6).1 Under this provision, time excludable as to one defendant is excludable to all

  codefendants. United States v. Holyfield, 802 F.2d 846, 847-48 (6th Cir. 1986). Unlike some

  periods of delay automatically excluded by the Act, delay caused by joinder with a codefendant must

  be reasonable.     Henderson v. United States, 476 U.S. 321, 327 (1986).             In assessing the

  reasonableness of delay attributed to codefendants, courts should be guided by the policies

  supporting the enactment of section 3161(h)(6) (formerly 3161(h)(7)):

                           The legislative history of this section demonstrates a strong
                   Congressional preference for joint trials and an intention that delays
                   attributable to the joinder of defendants be liberally excluded.
                   Further, the purpose of this section is to insure that the Speedy Trial
                   Act does not alter the present rules governing severance of
                   co-defendants by forcing the government to prosecute the defendants
                   separately or be subject to a speedy trial dismissal motion.


  United States v. Monroe, 833 F.2d 95, 100 (6th Cir. 1987) (citations omitted). In other words,

  Congress expressly favored the goals of efficiency and economy resulting from multi-defendant

  trials despite the loss of speed that would result from a severance. See id.

                   In the present case, Defendants Roberts and Howley are jointly indicted and no

  motion for severance has been filed. The Court finds that the six-week delay caused by Defendant

  Howley’s need for continuity of counsel and adequate trial preparation to be reasonable.

  Accordingly, this delay is also attributable to Defendant Roberts. 18 U.S.C. § 3161(h)(6).

                   Thus, Defendant Howley’s Motion for Continuance [Doc. 99] is GRANTED, and

  the trial of this matter is reset to March 23, 2010. The Court also finds that all the time between the

  February 5, 2010 hearing and the new trial date of March 23, 2010, is fully excludable time under


         1
         Section 3161(h)(6) was formerly numbered 18 U.S.C. § 3161(h)(7). Congress
  renumbered this section, effective October 2008, without changing its language.

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Case 3:08-cr-00175-PLR-CCS Document 104 Filed 02/08/10 Page 3 of 4 PageID #: 617
  the Speedy Trial Act for the reasons set forth herein. See 18 U.S.C. § 3161(h)(6) & -(h)(7)(A)-(B).

  With regard to further scheduling, the parties are to appear before the undersigned on February 16,

  2010, at 9:30 a.m., for an arraignment on the Second Superseding Indictment [Doc. 97] and a

  motion hearing on the Government’s Motion for a Protective Order [Doc. 98]. The Court instructs

  the parties that all motions in limine must be filed no later than March 8, 2010. Special requests

  for jury instructions shall be submitted to the District Court no later than March 12, 2010, and shall

  be supported by citations to authority pursuant to Local Rule 7.4.

                 Accordingly, it is ORDERED:

                 (1) Defendant Howley’s Motion for Continuance [Doc. 99] is
                 GRANTED;

                 (2) The trial of this matter is reset to commence on March 23, 2010,
                 at 9:00 a.m., before the Honorable Thomas W. Phillips, United
                 States District Judge;

                 (3) All time between the February 5, 2010 hearing, and the new trial
                 date of March 23, 2010, is fully excludable time under the Speedy
                 Trial Act for the reasons set forth herein;

                 (4) The parties are to appear before the undersigned on February 16,
                 2010, at 9:30 a.m., for an arraignment on the Second Superseding
                 Indictment [Doc. 97] and a motion hearing on the Government’s
                 Motion for a Protective Order [Doc. 98];

                 (5) Motions in limine must be filed no later than March 8, 2010; and

                 (6) Special requests for jury instructions with appropriate citations
                 shall be submitted to the District Court by March 12, 2010.

                 IT IS SO ORDERED.
                                                         ENTER:

                                                              s/ H. Bruce Guyton
                                                         United States Magistrate Judge




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Case 3:08-cr-00175-PLR-CCS Document 104 Filed 02/08/10 Page 4 of 4 PageID #: 618
